         Case 1:19-cv-11699-PAE Document 26 Filed 10/19/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


R&G ENTERPRISES, INC.,

                                       Plaintiff,                      19 Civ. 11699 (PAE)
                        -v-
                                                                           ORDER TO
 SOO JEONG CHOI, RAE H. LEE and R&H CLEANERS,                             SHOW CAUSE
 INC.,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       On December 20, 2019, plaintiff filed the complaint. Dkt. 1. On January 3, 2020,

plaintiff served defendant R&H Cleaners, Inc. with process. Dkt. 12. On January 21, 2020,

plaintiff served defendant Soo Jeong Choi with process. Det. 13. Neither defendant has

responded to the complaint or otherwise appeared in this action. On February 5, 2020, plaintiff

obtained a Clerk’s Certificate of Default as to R&H Cleaners. Dkt. 18. And plaintiff obtained a

Clerk’s Certificate of defeat as to Soo Jeong Coi, on February 13, 2020. Dkt. 21. On October 2,

2020, the Court issued an Order to Show Cause, prompting plaintiff to move for a default

judgment by October 16, 2020 or risk dismissal of the case. Dkt. 23. On October 16, 2020,

plaintiff filed a motion for default judgment against R&G Cleaners and Soo Jeong Coi. Dkt. 24.

       Plaintiff’s papers in support of its motion are in good order. In light of the current public

health situation, the Court will resolve the default judgment motion on the papers. If the

corporate defendant wishes to oppose the motion, their counsel shall enter a notice of appearance

prior to November 16, 2020, and file an opposition on ECF, explaining why a default judgment

is not warranted, by November 16, 2020 at 5 p.m. If the individual defendant wishes to oppose
         Case 1:19-cv-11699-PAE Document 26 Filed 10/19/20 Page 2 of 2




the motion, they must submit, by email, an opposition explaining why a default judgment is not

warranted by November 16, 2020 at 5 p.m. to EngelmayerNYSDChambers@nysd.uscourts.gov.

       Plaintiffs are to serve this order on all defendants forthwith and file proof of this service

no later than October 23, 2020.


       SO ORDERED.

                                                              PaJA.�
                                                              ____________________________
                                                              Paul A. Engelmayer
                                                              United States District Judge


Dated: October 19, 2020
       New York, New York
